UNITED STATES BANKRUPTCY COURT
WESTERN DISTRICT OF NEW YORK

                                                         )
In re:                                                   )   Chapter 11
                                                         )
THE DIOCESE OF BUFFALO, N.Y.,                            )   Case No. 20-10322-CLB
                                                         )
                             Debtor.                     )
                                                         )

         NOTICE OF THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS’
          EX PARTE APPLICATION TO RETAIN AND EMPLOY BURNS BAIR LLP
         AS SPECIAL INSURANCE COUNSEL EFFECTIVE AS OF OCTOBER 5, 2023


          PLEASE TAKE NOTICE that on October 30, 2023, The Official Committee of

 Unsecured Creditors (the “Committee”) of The Diocese of Buffalo, N.Y., the above-captioned

 debtor and debtor in possession (the “Debtor”), by and through its undersigned counsel, filed

 the, Ex Parte Application Of The Official Committee of Unsecured Creditors’ To Retain And

 Employ Burns Bair LLP As Special Insurance Counsel Effective As Of October 5, 2023 (the

 “Application”), with the United States Bankruptcy Court for the Western District of New

 York (the “Court”).


          PLEASE TAKE FURTHER NOTICE that a hearing to consider the Application and

 any objections related thereto will be held on November 13, 2023 at 10:00 a.m. (prevailing

 Eastern time), or as soon thereafter as counsel may appear and be heard, before the Honorable

 Carl L. Bucki, Chief United States Bankruptcy Judge for the Western District of New York.

          PLEASE TAKE FURTHER NOTICE that parties can choose to appear either (i) in

 person at the Robert H. Jackson U.S. Courthouse, 2 Niagara Square, Buffalo, New York or (ii)

 telephonically (call in 1-571-353-2301, Courtroom ID 483077448#, and security pin 9999#).




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          PLEASE TAKE FURTHER NOTICE that any objections or responses to the

 Application must conform to the Federal Rules of Bankruptcy Procedure and the Local

 Bankruptcy Rules for the Western District of New York and be served in accordance with Local

 Rule 9013-1 upon the following parties: (i) counsel to the Official Committee of Unsecured

 Creditors, Pachulski, Stang, Ziehl & Jones, LLP, 10100 Santa Monica Blvd., 13th Floor, Los

 Angeles, California, 90067-4003, Attn. James I. Stang, and 780 Third Avenue, 34th Floor, New

 York, New York, 10017-2024, Attn. Ilan Scharf,; (ii) counsel to the Diocese, Bond, Schoeneck

 & King, PLLC, One Lincoln Center, Syracuse, New York 13202, Attn: Stephen A. Donato,

 Charles J. Sullivan, and Grayson T. Walter, (iii) the Office of the United States Trustee for the

 Western District of New York, 300 Pearl Street, Suite 401, Buffalo, NY 14202. Attn: Joseph W.

 Allen; and (iv) and those persons who have formally appeared and requested service in this case

 pursuant to Rule 2002 of the Federal Rules of Bankruptcy Procedure.

          PLEASE TAKE FURTHER NOTICE that copies of the Application and all other

 documents filed in the Diocese’s chapter 11 case may be obtained free of charge via the case

 management website maintained by the Diocese’s notice agent at

 https://case.stretto.com/dioceseofbuffalo or by contacting the undersigned counsel for the

 Diocese.




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Dated: New York, New York   PACHULSKI STANG ZIEHL & JONES LLP
 October 30, 2023
                             /s/ Ilan D. Scharf                      .
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                            Ilan D. Scharf, Esq.
                            Iain A. W. Nasatir, Esq.
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                            Counsel for the Official Committee of Unsecured
                            Creditors




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